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                         EXHIBIT 10
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 From:                    Roger Ver <roger@memorydealers.com>
 Sent:                    Mon 1/11/2016 11:08:12 PM (UTC-05:00)
 To:                      Appraiser 2
 Subject:                 Re: BitCoins
 Attachment:              signature.asc
      Appraiser 2
 HI                 ,

 Thanks for the reply.
 Now I think I understand.

 I will get back to you in detail tomorrow.

 Roger Ver


 > On Jan 11, 2016, at 8:05 PM, Appraiser 2                                      wrote:
 >
 > Hi Roger,
 >
 > I understand you want to get it done on the Bitcoin valuation.
 >
 > I wrote the following to Lawyer 1        , your attorney, a few weeks ago:
 >
 > It makes a huge difference whether it is a personal holding or entity
 >> holding.
 >> IRS ruling on the Virtual Currency including the BITCOIN is a
 >> treatment as like an asset class of "PROPERTY."
 >
 > He said that he will find out more the exactness ofof your holdings whether
 > personal or entity.
 >
 > Again, the valuation for risk adjustment between the two is huge and its
 > consequences of taxation will be huge as well.
 >
 > You mentioned once you wanted to value your Bitcoin as personal holdings.
 > Think about it again.
 > I understand the Bitcoin's unique code, however the question is where the
 > Bitcoin is invested for.
 >
 > If you want me to value it as personal holdings, I will wrap it up and send
 > the report to you.
 >
 > Thank you so much!
 >
 >




Appraiser 2
                                                                                                  RKV_REV0421659
                                               EXHIBIT 10
                                                   1
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 >
 > This email message and any attachments are CONFIDENTIAL and intended solely
 > for the addressed recipient. Any unauthorized use, disclosure or
 > duplication is prohibited. Thank you.
 >
 >
 >
 > -----Original
         Original Message-----
                       Message
 > From: Roger Ver [mailto:roger@memorydealers.com]
 > Sent: Monday, January 11, 2016 12:10 PM
 > To: Appraiser
          A ppraiser 2
 > Subject: Re:     'e: BitCoins
                        :itt oins
 >
        ppraiser2
       Appraiser 2
 > Hi              ,
 >
 > Another week has gone by and I haven'thaven’t heard back from you.
 > Is everything ok?
 >
 > Can you please give me an update so I know what to expect?
              aren’t able to complete the appraisal for some reason, please let me
 > If you aren't
 > know ASAP so I can find someone else.
 > If that is the case, you can refund my $6,000 preferably by Bitcoin to:
 >
 >
 > Or you can wire to my bank:
 >




                                                                                               RKV_REV0421659
                                             EXHIBIT 10
                                                 2
